Case 3:23-cv-00811-MMH-LLL        Document 37    Filed 10/11/23   Page 1 of 2 PageID 537



                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

   CHARLES S. WEEMS, IV, an
   individual, KERRI WEEMS, an
   individual, and CELEBRATION                  Case: 3:23-cv-00811-MMH-LLL
   GLOBAL, INC., a Florida not for
   profit corporation, HONEY LAKE
   FARMS, INC., a Florida not for profit
   corporation, NORTHSTREAM
   MANAGEMENT GROUP, LLC, a
   Florida limited liability company, and
   WEEMS GROUP, LLC, a Florida
   limited liability company,

             Plaintiffs,
   v.

   ASSOCIATION OF RELATED
   CHURCHES, a Texas not-for-profit
   corporation, CHRIS HODGES,
   individually, DINO RIZZO,
   individually, and JOHN SEIBELING,
   individually,

             Defendants.
                                        /

             DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

         Pursuant to Local Rule 3.01(i), and to supplement Section II(B)(2) and pages

  14-15 of Section II(C) of their Motion to Dismiss (Doc. 28), Defendants give notice

  of two orders entered by the Honorable Marianne Lloyd Aho on October 6, 2023:

        1.        Order Granting Defendants’ Motions to Dismiss in Duval County Case

 No. 2022-CA-1047, attached as Exhibit A, ruling on page 5 that “the ecclesiastical

abstention doctrine deprives this Court of subject matter jurisdiction over the present

dispute, and no amendment can circumvent this constitutional prohibition.”
Case 3:23-cv-00811-MMH-LLL        Document 37       Filed 10/11/23   Page 2 of 2 PageID 538



       2.     Order Granting in Part and Denying in Part Defendants’ Motions to

 Dismiss in Duval County Case No. 2023-CA-740, attached as Exhibit B, dismissing

“tort claims . . . for lack of subject matter jurisdiction because their adjudication would

require this Court to inappropriately referee an internal power struggle . . . .” (p.4).

       Respectfully Submitted this 11th day of October, 2023.

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